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Attorne_ys for A plicant
Securities and Xchangq Comrnission
Rosalind R. Tyson, Region_al Director

JohnM. McCo III: Reg10nalTria Cou'nsel
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LOS Angeles California 90036

Telephone: 323 965~ 3998

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IN THE MATTER OF AN APPLICATION
TO ENFORCE ADMINISTRATIVE
SUBP()ENAS OF THE

SECURITIES AND EXCHANGE
COMMISSION,

Applicant,
v. _
ELLIOTT BROIDY,

Respondenti

 

 

 

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Andrew G. Petillon, Associate Re ional Director `

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF M§CALIBO §§ §§ §@ §§ § § S\§§§§§§ §KQ§§§ §

CaSe NO.

DECLARATION OF LESLIE A. _
HAKALA IN SUPPORT 0F THE
SECURITIES AND EXCHANGE
COMMISSION’S EX PAR 'TE
APPLICATION FOR AN ORDER 130
SHOW CAUSE AND APPLICATIQN
FoR AN ORDER COMPELLING
COMPLIANCE WITH .
ADMINISTRATIVE SUBPOENAS

 

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I, Leslie A. Hakala, declare pursuant to 28 U.S.C. § 1746 as folloWs:
1. ' This declaration is submitted in support of the Securities and
Exchange Commission’s' Ex Parte Application for an Order to Show Cause and '
Application for an Order Compelling Compliance With Administrative Subpoenas
issued to Elliott Broidy (“Broidy”) Unless specifically stated, l have personal
knowledge of the matters set forth below.
2_. l am a staff attorney in the Los Angeles Regional Offi'ce of the

_ Securities and Exchange Commission (“Commission”). In the course of my duties

With the Commission, 1 conduct investigations into possible violations of the 1
federal securities laws. My responsibilities include, among other things:
(1) subpoenaing documents and Witnesses; (2) obtaining and analyzing documents;
(3) taking testimony; and (4) determining Whether there have been violations of the
statutes enforced by and regulations promulgated by the Commission.

1 The California Public Pension Funds Investigation

3. l am one of the attorneys assigned to the Commission’ s formal

investigation entitled In the Matter ofCalifOrm`a Public Pensiorz Funds,

_ Commission File No. LA-3644. Along With other staff members, l am'conducting

this investigation out_ of the Commission’s Los Angeles Regional Oftice, located in
Los Angeles, California. l am familiar With the investigatory file 1n this matter
including each of the orders issued by the Commission 1n this matter as Well as
each of the subpoenas issued by the Commission’ s staff 1n this matter. '

4. The Commission issued a. formal order of private investigation
(“Formal Order”) in this matter on May 27, 2009_. The Formal Order designates
certain members of the Commission’s staff, including me, as officers of the 7
Commission. Designated officers of the Commission are empowered to administer
oaths and affirmations, subpoena Witnesses, compel their attendance, take evidence
and'require the production of any books, papers, correspondence, memoranda,-

contracts, agreements, or other records deemed relevant or material to the inquiry,

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and to perform all other duties in connection therewith as prescribed by law. A
true and correct copy of the Formal Order is attached to this declaration as
Exhibit A.

5. Pursuant to the Formal Order, the Commission’s staff is seeking
information regarding, among other things, possible violations of the antifraud
provisions of the federal Securities laws arising out of the investment of money by
public pension funds in California (“California Public Pensi_on F-unds”) with
investment management firms and others. 7 b

6. According to voluminous documents which are publicly available on
the website of the Los Angeles Fire and Police Pension System (“LAFPP”) and
conversations 1 have had with B-roidy’s -counsel, Broidy served as a mayoral
appointee to the Board of Fire and Police Pension Commissioners of the City of
Los Angeles (“LAFPP Board”) from at least 2002 until his resignation on May 7,
2009. LAFPP’s website is located at www.lafpp.com.

7_ v 'According to the biography he produced to the Commission’s staff,i
Broidy also “is the Founder and Chairman of Markstone Capit_al Partners, a $800
million private equity fund dedicated to investing in traditional industries within

the lsraeli economy.” A true and correct copy of that biography is attached as

.Exhibit 1. (1 believe that Broidy may be the chairman of Markstone Capital
Group, which acts as the investment manager for Markstone Capital Partners, the _'

private equity fund (collectively, “Markstone”)'. ). 1 have received documents from

Broidy indicating that the California Public Employees' Retirement System

(“CalPERS”) agreed'to invest a total of $50 million in Markstone in two separate 1

investments in October 2003 and September 2005.' 1n the second transaction,
Markstone used a placement agent. That placement agent’s counsel has told me

that (l_) did not apply to become a,registered broker-dealer until November 2005 7

' and (2) did not actually register until October 2006. 1n addition to CalP'ERS, it

appears that`l\/larkstone obtained investment commitments from more than nine

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' other public pension funds in five other states (New MeXico, New York, North

Carolina, Oregon, and Texas). According to his biography, Broidy also runs an
entity called Broidy Capital Group, his private investment company.

8. 1 have reviewed evidence in this investigation which indicates that
Broidy lives 1n Los Angeles, California and that Markstone’ s offices are in 1
Century City, California. l _

The April 7, 2009 Voluntarv Document Request to Broidy 7

9_. On April 7, 2009, 1 sent Broidy a` request that he voluntarily provided
seven categories of documents and information by April 21 , 2009 (“April» 2009 -
Request”). A true and correct copy of the letter 1 sent to Broidy on April 7, 2009 is
attached as Exhibit 2. ()n or about April 14, 2009, AleXander H. S~outhwell
(“Southwell”) of Gibson Dunn & Crutcher LLP (“Gibson Durm”) contacted me on
Broidy’s behalf to request,that the deadline for the voluntary production be
extended to »May 5, ,2009, and 1 agreed. 1 understand that Broidy Capital
Management has consulted With both Gibson Dunn, a nationwide law firm, and
Southwell in particular regarding allegations of improprieties related to public
pension funds`for at least a ye'ar. On or about May 1, 2009, Broidy provided the
Commission with copies of his publicly f11ed Statement.of Economic Interests and
similar financial disclosure forms. Shortly thereafter, Southwell told methat
Broidy preferred not to voluntarily produce the other six categories of documents
described in the April 2009 Request. Broidy-subsequently produced a memo that
another of his lawyers had apparently written in May 2009 to defend Broidy s
recusal notification decisions g

The May 28, 2009 Document Subpoena to Broidy

10. On May 28, 2009, after the Formal Order was issued, 1 sent Broidy an
investigative subpoena requiring him to produce the same documents that 1 had
previouslyrequested he voluntarily provide (“May 2.009 Subpoena”). A true and
correct copy of the May 2009 Subpoena is attached as Exhibit 3. Broidy was

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required to produce these documents by June 12, 2009. 1 served the May 2009
Subpoena on Southwell, who had previously confirmed to me that he was
authorized to accept service for Broidy, via Federal Express, and 1 obtained a
delivery confirmation 7

11. On or about June 8, 2009., Broidy produced less than 200 pages of
documents responsive to the subpoe'na, including what appear to be several
telephone messages from a placement agent regarding private equity investments
and public pension fund matters._ 'Other than that, Broidy did not comply with the
deadline in the May 2009 Subpoena. 7 7 7

12. On'June 10, 2009,' at Southwell’s request, the Commission’s staff
(AndrewPetillon, Finola l\/lanvelian, Marshall Sprung, and 1) met with Broidy’s
counsel to discuss, among other things, the subpoenas to Broidy. Southwell and
Douglas M. Fuchs (also of Gibson Dunn), and Bradley H. 'Mindlin (another
attorney for Broidy) attended this meeting. My colleagues and 1 told counsel that
Broidy couldv_oluntarily produce his bank and'brokerage account records himself v
if he chose to do so (even though those account records were not specifically called
for by the subpoena). 1 expressly told counsel,v however, that the Commisision’s

staff would not promise not to subpoena documents from Broidy’s financial

institutions if we.decided that was appropriate

The June 15, 2009 Document Subpoena to_Broidv
_ 13. On June 15, 2009, 1 sent Broidy another subpoena for documents,
including the same records 1 had previously requested as Well as additional
documents (“June'2009 Subpoena”). Documents responsive to this subpoena were
due on June 27, 2009. 1 served the June 2009 Subpoena on Southwell via Federal
'Express, and 1 obtained a delivery confirmation Broidy did not produce any

records in response to the June 2009 Subpoena by the June 27, 2009 deadline A

`, true and correct copy of the June 2009 Subpoena is attached as Exhibit 5.

 

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14. About June 22, 2009, Southwell and 1 spoke by telephone _ Southwell
said that Broidy expected to produce documents by June 29, 2009. Southwell
indicated that the production of documents had been delayed by Broidy’ s busy
schedule of business meetings, a family celebration, and a summer vacation.

15. On June 29, 2009, Southwell sent me an email saying, “Sorry 1_
haven't been able to send out a production as 1 had been hoping to but we ran into
some production issues. We're are working on getting you material as soon as
possible.” A true and correct copy of that email is attached as Exhibit 6..

v 16. On July 1, 2009, 1 sent Southwell a letter reviewing this sequence of
events and noting that the deadline by which Broidy was required to produce
documents.pursuant to the June 2009 Subpoena had passed without him producing
anything. 1 explained in that letter that Broidy was legally obligated to comply
with the May and the June 2009 'Subpoenas, and that if he didn’t, the Commission
might choose to seek to enforce its subpoenas in court. A true and correct copy of
that letter is attached as Exhibit 7.

17. The next day, July 2, 2009, Southwell called me to say that on July 6,
2009, Broidy would produce-some_but not all_of his emails, and other required
documents, as well as some of his actual bank account records. 1 also understood

Southwell to say that by the end of the day on July 6, 2009, Broidy would provide

_ a list refiecting the account identifying information for his bank and brokerage

accounts, as called for in Request 11(A)(6) of the June 2009 Subpoena. Finally,
during that call, Southwell confirmed to me that both Gibson Dunn and Broidy
interpreted the document subpoenas issued to Broidy personally_as also requiring
the production of documents belonging to l\/larkstone. For this reason, Southwell
said, 1 did not need to send a separate document subpoena to Markstone.

n 18. On July 6, 2009, 1 received a partial production of documents from
Broidy, consisting mostly of financial records that were not directly called for-by 7

the May and June Subpoenas. However, a list ofBroidy’s bank and brokerage

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accounts was not among the items provided that vday. The following day, July 7,
2009, 1 sent Southwell an email expressing my concerns about Broidy’s continuing
document productionproblems. 1n his reply, Southwell claimed that they were
“hard at work” trying to gather the required materials, but that Markstone was a
“s`mall organization that is struggling mightily"’ to respond to various regulatory
inquiries. Southwell also disputed that he’d previously agreed to a fixed date for

the list of Broidy’s bank and brokerage accounts. A true and correct copy of that

email chain is attached as Exhibit 8.

19. The next day, July 8, 2009, 1 again spoke with'Southwellregarding
the status of Broidy’s document production. Southwell told me in that call that l’d

receive more bank records shortly. Among other things, Southwell said that

Broidy himself needed to review the list of bank and brokerage for accuracy and

completeness, and that Broidy had departed for a vacation cruise in Alaska.

Southwell said that Broidy was scheduled to return to Los Angeles on July 14,

` 2009, so 1 said that 1 would expect to receive the final bank and brokerage account

chart no later than the close of business on July 15, 200»9. Southwell then said that
he was not sure if Broidy Would be'able to turn his attention to the account list
immediately upon his return. 1 reminded him that Broidy received a subpoena for
this information about six weeks ago. A true and correct copy of the email 1 sent
to Southwell confirming this conversation is attached as Exhibit 9.

20. On July 9, July 16, and July 22, 2009,'1 spoke further with Southwell
about document production issues and items that were missing or improperly n
»p_roduced. During this period, Southwell and 1 also exchanged several emails
regarding similar issues. As of July 31, 2009, Broidy had produced documents in
about 13 separate productions, varying from two to thousands of pages each.
Some of the productions were spreadsheets of information that had to be revised
one or more times. During each of those calls, 1 emphasized to Southwell the

importance of promptly complying with the subpoenas, and he claimed that

 

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documents were being produced as quickly as possible. Nonetheless, Broidy’s
document production remained Substantially incomplete.

21. On July 9, 2009, 1 sent Southwell an email raising an number of
concerns about the completeness of the documentsthat Broidy had already
provided A true and correct copy is attached as Exhibit 10. '

22.- On August 11, 2009, 1 sent Southwell another letter describing the 1
sequence of prior events and reminding him that the Commission might seek to
enforce its subpoenas in court. A true and correct copy is attached as Exhibit 11.

23. On August 12, 2009, both Southwell and Mindlin called me separately
late in the day. They both told me that Broidy had rearranged the scope of his
various lawyers’ responsibilities so that a firm in Los Angeles (Michelman &
Robinson, LLP) would play a more active role in gathering and reviewing
documents They asked for another extension until August 28, 2009 to produce the
documents, but assured me that Broidy would fully comply by that date. 1 said 1’d
consider their request, and speak with them more the next day.

24. The»next day, August 13, 2009, Catherine Brilliant, another
Commission staff attorney assigned to this matter, and 1 had a'conference call with ',
Southwell, Mindlin, and Sanford Michelman (Broidy’s fourth lawyer actively
involved in this matter). During the call, Broidy"s lawyers claimed that Broidy and
Markstone had limited resources to respond to the subpoenas, but that Broidy was

diligently trying to comply. 1 asked for details about the status of the production,

7 such as what the overall volume of documents was expected to be; of that, what

t percentage had already been produced; who had collected then documents from

Broidy for review; who exactly was reviewing the documents; what steps were
being taken topreparev a log of documents withheld based on privilege; what _
document preservation steps were taken; and so on. After conferring privately
several times, Broidy’ s three lawyers on the call declined to tell me who currently

had possession of the documents subject to the subpoena; instead they asserted

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that the custodian’s name was privileged inforrnation. 1 then told counsel that we
would not agree to any more delay. 1 said that the staff of the Commission would
consider and potentially move forward with a subpoena enforcement action in
federal district court without any further notice to Broidy or hiscounsel. 1 sent an 7
email confirming the conversation later that afternoon, and Southwell replied by
email the next day. A true and correct copy of that email chain is attached as
Exhibit 12. On August 17, 2009, Southwell sent a second response to my email.
A true and correct copy is attached as Exhibit 13. 1
1 The August' 11, 2009 Document Subpoena,to Markstone
25. On August 11, 2009,'1 issued a separate document subpoena to
Markstone A true and correct copy is attached as Exhibit 14. Documents called
for by that subpoena were due on August 25, 2009. The same day 1 sent the
subpoena, 1 confirmed to Southwell in writing that documents that had previously
been sent to me by Broidy need not be re-produced by Markstone, and 1 .
encouraged Southwell to let me know if he had any questions A true and correct
copy is attached as Exhibit 15. 1 heard nothing further on the issue
The Aug'ust 11, 2009 Testimonv Subpoena t0. Broidy 7
26. On August 4, 2009, 1 send Southwell amessage, saying that 1 planned
to subpoena Broidy for testimony and asking him to suggest a convenient date in
the last week of August or the first week in September 2009. A true and correct
copy is attached as Exhibit 16. He did not reply.
727. On August 9, 2009, 1 sent Southwell an email repeating my request

for potential testimony dates. A true and correct copy is attached as Exhibit 17.

~On August,10, 2009, Southwell responded bysending me a letter saying that

“Broidy has other regulatory matters that require his immediate attention.”
Therefore, Southwell was unable to suggest a date for testimony. A true and

correct copy is attached as Exhibit 17A.l

 

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7 28. On August 11, 2009, 1 issued a subpoena requiring Broidy to appear

ford sworn testimony in Los Angeles on September 1, 2009, at 9:30' a.m. (“August

2009 Subpoena”). A true and correct copy of that subpoena is attached as

Exhibir 18. 7 n 7 3 ` '

n 729. Broidy’s scheduled testimony wasdiscussed with counsel during the
conference call on August 13, 2009. At that time, Southwell expressed discomfort
with having his client answer substantive questions in lightof interest by other
governmental agencies with criminal authority. 1 said that the Commission staff
certainly respect Broidy’s constitutional rights, and noted that in testimony', Broidy
may either answer substantive questions or opt to assert his Fifth Amendment
privilege against self-incrimination 1 told.counsel that, either way, we expected to
see Broidy on September 1, 2009 in Los Angeles pursuant to the subpoena. 1
confirmed those statements in my follow-up email, a true and correct copy of
which is attached above 111 his both his August 13, 2009 and his August 17, 2009
replies, Southwell ignored the testimony issue

30. On August 28, 2009, 1 S_entSouthwell an email which emphasized that
my colleagues and 1 have no interest in interfering With Broidy’s testimonial
privileges in any way. 1 did remind him, however, that he had,previously said that

as a professional courtesy he Would let rne know Broidy’s plans for testimony

7 reasonably in advance 1 then asked Southwell to let me know whether Broidy

intended to answer questions or assert the Fifth Amendment. A true and correct
copy of the email is attached as Exhibit 19.»

31. A few minutes later, Southwell called me to say that Broidy would not
appear at all. Southwell said that iliwould shortly receive a letter explaining
Broidy’s reasons for not appearing, but that Southwell wanted to make sure 1 got
the message and did nth spend the weekend preparing for a testimony that would
not occur. 1 told Southwell that 1 was gratefulfor hiscourtesy. 1 also told

Southwell, however, that Broidy’s failure to appear for testimony was

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unacceptable; that the staff would-feel free to pursue a subpoena enforcement
action with any further notice to Broidy or his counsel; and that upon filing such an
action," the otherwise non-public nature of the investigation becomes a matter of
public record. Southwell told me that both he and his client understood

32. ' _A few hours later, 1 received a letter from Southwell saying that
Broidy “will not be able to appear on September 1, 2009” because he is “diligently
working towards completing the production of documents” which “requires
appropriate attention.” Broidy preferred not to have testimony proceed “in
piecemeal fashion.,” Instead, Broidy proposed that he “aim to” complete his
document production by September 14, 72009, and then appear for testimony
sometime thereafter. A true and correct copy of the letter is attached as
Exhibit 19A.

33. On' September 3, 2009, Ro'salind Tyson, the Regional Director of the

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Los Angeles Regional Office, contacted Southwell by telephone 1 understand that
.she subsequently had several conversations with Fuchs, a Los~Angeles based
attorney who works with Southwell, to explore whether they could agree to a date
on which Broidy would appear for testimony. To the best of my knowledge,
Tyson told Fuchs that Broidy needed to appear for testimony no later than
September 17, 2009. 1 have been told that Fuchs responded to Tyson’s offer to
reschedule the testimony by asking Tyson to identify the specific topics and

questions to be covered in Broidy’s testimony, and that Tyson responded by giving

_ him general guidance aboutour investigation For example, 1 believe she told him

that Broidy’s testimony would likely cover the topics raised in the May and 1une
2009 Subpoenas issued to him in this matter months ago (as well as the topics
raised in the*August 2009 Subpoena to Markstone Capital Group) as Well other
issues related to investments by public pension funds. 7

v 34. 1 understand that Fuchs then asked Tyson whether the Commission

t staff would agree to restrict the scope of its inquiry purely to California, and that

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Tyson declined to do so, citing the staff"_ s long-standing policy'not to agree to limit
testimony questioning to particular factualquestions or subjects
l 35. 1 believe that Fuchs then proposed that Tyson agree to modify the
subpoena to require Broidy to appear for testimony in Los Angeles on September
24, 2009, at 9:30 a.m. 1 am told that Fuchs also'said that Broidy’s “goal” was to
complete his production-of documents responsive to the May and June 2009
Subpoenas by “the end of the week of September 14, 2009.” Tyson has told me
that she and Fuchs agreed to this new schedule 7

1 36. Shortly after SeptemberS, 2009, Tyson gave an attorney assigned to
this investigation a copy of a letter to her from Fuchs. That letter confirmed
Broidy’s September 24, 2009 testimony date and stated that “this schedule should
enable document production .- .. to be completed prior to the testimony.” A true
and correct copy is attached as Exhibit 20. _
n 37. On September 4, September 22, and September 23, 2009, Broidy
produced additional documents to me 1 have been unable to locate any log of
privileged documents that have been withheld from'his production, and 1 suspect
that none has been prepared.

378. On September 18, 2009, Fuchs sent me a letter to “once again request
clarification regarding the topics of [my] anticipated questioning.”' 1tv appears from 1
the letter and the coveremail that Fuchs did not include Tyson on the September
18, 2009 correspondence Regarding the overdue document productions, Fuchs
stated in his letter that “out of consideration for the SEC,” Broidy and his counsel
had undertaken a process to “mitigate duplicate documents” but that the process 7

“turned out to be more labor intensive than originally anticipated.” Fuchs then

7 Wrote that he anticipates that some documents would be produced “next week” and

a final document production “Should be produced by the beginning of the
following week.” Finally, Fuchs disclosed that Broidy is “still in the midst of

ongoing negotiations with the New York Attorney General’s Office” As such,

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Fuchs suggested that the Commission staff should not seek testimony from Broidy

that may also relate to that New York investigation A true and correct copy is

' attached as Exhibit 21.

39. On September 21, 2009 (the following business day), 1 replied to
Fuchs’ letter. My email to Fuchs: (1) made it clear that 1 would neither provide
Broidy with a detailed roadmap of prospective questions, nor agree to limit
questioning to certain questions or subjects; (2) encouraged Fuchs to review the 7
topics and general guidance provided by Tyson weeks ago; (3) explained that
regardless of Broidy’s involvement in other matters, the staff of the Commission
has an independent statutory obligation to enforce the federal securities laws, and
therefore will not agree to Fuchs’ request to limit the scope of questions to Broidy
because his answers might overlap with areas of interest to other government

agencies; (4) underscored that the Commission staff always respects every witness’

~ constitutional rights, including the Fifth Amendment privilege against self-

incrimination;_ (5) reminded Fuchs that Broidy was expected to appear for
testimony three days hence; and (6) noted that Broidy may also need to appear for
one or more additional days of testimony later (particularly since he still has not
completed his response_to the document subpoenas issued to him over three
months ago). A true and correct copy is attached as Exhibit 22.

40. Yesterday, September 23, 2009, 1 sent Southwell a briefemail asking
him to explain what he could about Broidy’s plans for the next day’s testimony and
how many lawyers would be attending, so 1 couldprepare the appropriate number
of copies of exhibits 1n my email to Southwell, 1 explicitly wrote, “1 have no
desire to interfere with any of [Broidy’s] privileges, of course and rely on your
professional judgment and courtesy in responding ” A true and correct copy is
attached as Exhibit 23.

41. Several hours after my email to South'well, Tyson let me know»that

Fuchs had called her to say that Broidy would not appear to testify on September 7

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` 24, 2009, and he offered to stipulate that Broidy would come in for testimony

during the week of October 19, 2009. 1 believe that in a subsequent call, Tyson
told Fuchs that no further delay in testimony would be tolerated `

42. Later yesterday, Fuchs sent a letter to Tyson, Petillon, Sprung, and
me 1n it, he wrote that demanding Broidy’s testimony now would be
_“fundamentally unfair and interfere with Mr. Broidy’s constitutional rights.” `A
true and correct copy is attached as Exhibit 24. 1

43. Today, at 9:3'0 a.m., in our offices in-Los Angeles, a court reporter and
a staff attorney were ready to proceed with Broidy’s testimony. 1 understand the
court reporter has executed a declaration regarding Broidy’s non-appearance

Notice Pursuant to Local,Rule 7-19.1
7 44. P,ursuant to Local Rule 7-19.1, the staff gave notice of the
Commission’ s Application to Broidy on Thursday, lSeptember 24, 2009. This
notice was provided by telephoneto Fuchs at approximately 12:15 p.m.; l 1n that
call, the staff stated that the Commission planed file, on September 24, 20097 in the 7
Central District of California, an Ex Parre Application for an Order to Show Cause
and Application for an Order Compelling Comp_liance with Administrative
Subpoenas issued to-Broidy. Fuchs stated in a follow-up telephone call that Broidy,
opposes the Application. Later on September 24, 2009, Fuchs was notified by n
email that the Commission would file the application on September'25, 2009. We
informed him that we proposed a hearing date for our Application, but the hearing
date had not been scheduled by the Court. 1
1 declare under penalty of perjury under the laws of the United Statesof

America that the foregoing is true and correct'.

E_xecuted on September 24, 2009, at Los Angele_s, California.

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